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                       UNITED STATES DISTRICT COURT
                            DISTRICT OF OREGON
                             MEDFORD DIVISION

Jamie Krumenacker                             Case No. 1:14cv340

      Plaintiff,
v.

Premier Recovery Group, Inc.

      Defendant.

                                NOTICE OF VOLUNTARY DISMISSAL

      Plaintiff hereby dismisses this case with prejudice pursuant to F.R.C.P. 41(a)(i).

                                            RESPECTFULLY SUBMITTED,

                                            Hyslip & Taylor, LLC, LPA

                                            By:      /s/ Tom McAvity
                                                   One of Plaintiff’s Attorneys

Of Counsel
Tom McAvity, Esq.
2225 NE Alberta, Suite A
Portland, OR 97211
503-860-6868




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